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                                   3                                    UNITED STATES DISTRICT COURT

                                   4                                   NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

                                   6

                                   7    ARISTA NETWORKS, INC.,                             Case No. 16-cv-00923-BLF
                                   8                      Plaintiff,
                                                                                           ORDER RE: REDACTION OF ORDER
                                   9             v.                                        DENYING PLAINTIFF’S MOTION FOR
                                                                                           PARTIAL SUMMARY JUDGMENT
                                  10    CISCO SYSTEMS INC.,                                AND GRANTING IN PART AND
                                                                                           DENYING IN PART DEFENDANT’S
                                  11                      Defendant.                       MOTION FOR SUMMARY JUDGMENT
                                  12
Northern District of California
 United States District Court




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                                  14           The Court’s Order Denying Plaintiff’s Motion for Partial Summary Judgment and Granting
                                  15   in Part and Denying in Part Defendant’s Motion for Summary Judgment (ECF 269) has been filed
                                  16   under seal because it contains information that the Court previously allowed to be filed under seal
                                  17   due to its highly confidential and business-sensitive nature. The parties are ordered to meet and
                                  18   confer by no later than May 16, 2018 and submit proposed redactions to the Court’s order (to the
                                  19   extent any redaction is required), as well as supporting declaration(s) and a proposed order. If no
                                  20   proposed redactions are received by 11:59 p.m. on May 16, 2018, the Court shall unseal the order
                                  21   in its entirety.
                                  22

                                  23           IT IS SO ORDERED.
                                  24

                                  25   Dated: May 9, 2018
                                  26                                                   ______________________________________
                                                                                       BETH LABSON FREEMAN
                                  27                                                   United States District Judge
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